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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

 THE SMITH LAW FIRM, PLLC
                                                         JURY TRIAL DEMANDED
                Plaintiff
                                                         Case No. 3:24-cv-564-CWR-ASH
                                                                  ________________
                v.

 BEASLEY, ALLEN, CROW, METHVIN,
 PORTIS AND MILES, P.C., ANTHONY
 DOW         BIRCHFIELD, JR., TED
 GORDON MEADOWS

                Defendants


                                         COMPLAINT

       Plaintiff The Smith Law Firm, PLLC, by and through undersigned counsel, files this

Complaint against Defendants Beasley, Allen, Crow, Methvin, Portis and Miles, P.C., Anthony

                             , and Ted Gordon Meadows (collectively               .

                                           PARTIES

       1.     Plaintiff The Smith Law Firm, PLLC ( Plaintiff ) is a Mississippi Professional

Limited Liability Company with its principal place of business at 300 Concourse Blvd, Suite 104

in Ridgeland, Mississippi.

       2.     Defendant Beasley, Allen, Crow, Methvin, Portis and Miles, P.C. ( Beasley

Allen ) is an Alabama Professional Corporation incorporated under the laws of the State of

Alabama and with its principal place of business in Montgomery County, Alabama. Beasley Allen

may be served with process through its Registered Office at 218 Commerce Street, Montgomery,

Alabama 36104.




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        3.      Defendant Anthony Dow                  Birchfield, Jr. ( Birchfield ) is an attorney

licensed in the State of Alabama. Upon information and belief, Birchfield a resident of the State

of Alabama. Birchfield is and was, at all times relevant hereto, employed as an attorney by

Defendant Beasley Allen. Birchfield may be served with process at his place of employment,

Beasley Allen, 218 Commerce Street, Montgomery, Alabama 36104 or by any other means

permitted by the Federal Rules of Civil Procedure.

        4.      Defendant Ted Gordon Meadows ( Meadows ) is an attorney licensed in the states

of Alabama and Mississippi. Upon information and belief, Meadows is a resident of the State of

Alabama. At all times relevant hereto, Meadows was an employee of Defendant Beasley Allen.

Meadows may be served with process at his place of employment, Beasley Allen, 218 Commerce

Street, Montgomery, Alabama 36104 or by any other means permitted by the Federal Rules of

Civil Procedure.

                                   JURISDICTION AND VENUE

        5.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, as the

controversy is between citizens of different states and exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

        6.      The Court has personal jurisdiction over

Long-Arm Statute, Miss Code Ann. § 13-3-57, as Defendants entered into contracts with Plaintiff,

a Mississippi resident, concerning the representation of Mississippi residents, which were to be

performed in whole or in part in the State of Mississippi. Additionally, Defendants have committed

torts that have injured Plaintiff in the State of Mississippi.

        7.      Defendants contacts with the State of Mississippi are sufficient that the Court s

exercise of jurisdiction comports with due process. These contacts have been continuous and




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systematic over several years and include, without limitation, representing Mississippi residents;

participating in talc-related litigation in Mississippi, including in Hinds County, Mississippi; and

acting in Mississippi pursuant to the JV Agreement contract with Plaintiff, which has its principal

place of business in Madison County, Mississippi.

       8.        Venue is proper in the United States District Court for the Southern District of

Mississippi, Northern Division, pursuant to 28 U.S.C. §1391, as substantial acts, omissions and



in the district and division in which this matter has been filed, and because Defendants are subject

to personal jurisdiction in this district and division as set forth in the preceding paragraphs.

                                     STATEMENT OF FACTS

   A. The Smith Law Firm Originates the Talc Litigation

       9.        Plaintiff is a nationally recognized personal injury law firm that represents

individuals injured by defective products.

       10.       Plaintiff conceived of, developed the evidentiary and scientific support for, and

filed the first cases alleging that talc-based body powders cause

             .

       11.       In 2009, Plaintiff filed the first talc case in South Dakota - Berg v. Johnson &

Johnson, et al., No. 4:09-cv-04179-KES (D.S.D.).

       12.       In 2013, Plaintiff successfully tried Berg to verdict.

       13.       In 2014, the Mississippi Attorney General hired Plaintiff to file a Consumer

Protection Act suit against Johnson & Johnson relating to its sale of talcum powder products in

Mississippi.




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      B. Beasley Allen Seeks to Join the Talc Litigation, and the Parties Enter a JV Agreement

          14.     In November 2013, Defendant Beasley Allen, a personal injury law firm, began

showing interest in the Talcum Powder Litigation in November 2013.

          15.     In December 2013, Plaintiff entered into a joint venture agreement with Defendant

Beasley Allen                                                                     with respect to the

Talcum Powder Litigation.

          16.     Later in December 2013, Ted G. Meadows ( Meadows ), an attorney at Beasley

Allen, sent Plaintiff and Porter Malouf a letter memorializing

                . The JV Agreement was fully executed on January 23, 2024. 1

          17.     Under the JV Agreement, Beasley Allen was responsible for performing fifty

percent (50%) of the work in the Talcum Powder Litigation. Plaintiff and Porter Malouf

collectively were responsible for performing the other fifty percent (50%) of the work. 2 The JV

Agreement allocated fees and responsibility for expenses in the Talcum Powder Litigation on the

same basis - fifty percent (50%) to Beasley Allen and fifty percent (50%) to Plaintiff and Porter

Malouf collectively.

          18.     As the author of the JV Agreement, Beasley Allen expressly recognized Plaintiff s

substantial contributions to the Joint Venture prior to the JV Agreement including:

                  a. Initiating the Talcum Powder Litigation;

                  b. Securing quality cases, including State Attorney General actions, for the Joint

                     Venture in the Talcum Powder Litigation;




1
    December 19, 2013 Letter Agreement ( JV Agreement ), attached as Exhibit 1.
2




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      c. Conducting extensive discovery, which resulted in the collection of documents

         from Johnson & Johnson that would be difficult, if not impossible, to retrieve

         again;

      d. Retaining, developing, and qualifying the best experts in the Talcum Powder

         Litigation;

      e. Trying the first case and obtaining a positive verdict in the Talcum Powder

         Litigation;

      f. Contributing a portion of the potential fee in the South Dakota action, supra ¶

         18; and

      g. Contributing fifty percent (50%) of the fee to be recovered in the Mississippi

         Attorney General suit, supra ¶ 19.

19.               continuing responsibilities under the JV Agreement included:

      a. Sharing with Beasley Allen all information regarding and support for the nature

         of the claims arising in the Talcum Powder Litigation;

      b. Outlining for Beasley Allen the means by which to recognize viable claims in

         the Talcum Powder Litigation;

      c. Providing Beasley Allen with case screening materials for the Talcum Powder

         Litigation;

      d. Sharing with Beasley Allen all of the medical literature related to the Talcum

         Powder Litigation;

      e. Providing Beasley Allen with the expert witnesses, who Plaintiff had already

         retained and developed for the Talcum Powder Litigation;




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                 f. Securing Beasley Allen access to all discovery in the Talcum Powder

                      Litigation, including                                                              were

                      produced to Plaintiff prior to entering into the JV Agreement; and

                 g.

                      Talcum Powder Litigation.

        20.                   contributions, supra ¶¶ 25-26, were ongoing. Plaintiff performed

approximately 90% of the courtroom work on behalf of the Joint Venture, and Plaintiff s successes

resulted in the Joint Venture securing additional quality cases.

        21.      Pursuant to the JV Agreement, Beasley Allen was obligated to fund a national

television advertising campaign for Talcum Powder Litigation. Beasley Allen also was responsible

for handling new client intake; obtaining authorizations, information, medical records, and

pathology necessary to appropriate screen potential plaintiffs; and maintaining all client contact.

        22.      The JV Agreement drafted by Beasley Allen allocates responsibilities among the

joint venturers. It does not confer exclusive authority on any of the law firms, nor does it divest

any law firm of its obligations to the Joint Venture clients including their respective obligations to

communicate and keep the clients informed. 3

        23.      The JV Agreement does not confer power-of-attorney on Beasley Allen to
                                                              4




3
  See, e.g., Miss. Rules of Professional Conduct § 1.4 (setting forth requirements for counsel to keep a client
reasonably informed, promptly comply with requests for information, and provide explanations to assist
the client in making informed decisions); Ala. Rules of Professional Conduct § 1.4 (same).
4
  Plaintiff has power-of-
agreements.


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        24.      Rather, the JV Agreement expressly provides that Plaintiff and Beasley Allen

be jointly responsible

jointly represent

        25.      For nearly ten years, Plaintiff and Beasley Allen worked on the Talcum Powder

Litigation pursuant to the JV Agreement. Plaintiff served as lead counsel for nine trials in the

Talcum Powder Litigation, resulting in multiple verdicts for plaintiffs totaling over $750 million

dollars, and establishing the viability and magnitude of the Talcum Powder Litigation. 5

        26.      Plaintiff also was lead in the Mississippi Attorney General suit against Johnson &

Johnson, which involved multiple appeals and two attempted bankruptcy actions by defendant

Johnson & Johnson.

        27.      Plaintiff settled the Mississippi Attorney General action for $75 million dollars in

late 2023/early 2024. Defendants were not attorneys of record, nor did they contribute much to the

result. Nevertheless, Beasley Allen, pursuant to its JV Agreement, received 50% of the attorney

fees recovered.

    C. Birchfield and Meadows Breach the JV Agreement

        28.      On November 9, 2023, Defendant Birchfield sent an email to Plaintiff. In his email,

Birchfield affirmed the JV Agreement and that it remains in effect and includes all attorney fees

related to the Talcum Powder Litigation from any source. Based on information and belief,

Defendants were posturing for what they believed would be a global settlement.

        29.      Shortly after Birchfield s November 9, 2023 email, the relationship between

Plaintiff and Defendants began to sour.




5
  Defendant Beasley Allen has never won a trial in the Talcum Powder Litigation where Plaintiff was not present,
serving as lead counsel, and performing nearly all of the courtroom work.


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          30.   In early 2024, Birchfield increasingly refused to consult or meaningfully

communicate with Plaintiff regarding the Talcum Powder Litigation.

          31.   The growing rift became a chasm when Johnson & Johnson, in 2024, proposed a

pre-packaged bankruptcy plan                   to resolve MDL claims in the Talcum Powder

Litigation.

          32.   Although Plaintiff initially was opposed to the plan, subsequent amendments to the

proposed settlement provided                                               ( Revised Plan ). The

Revised Plan was markedly better for the Joint Venture s clients and, therefore, Plaintiff changed

its position.

          33.   Defendants, however, continued to oppose the Revised Plan, not based on its value

to the Joint Venture clients, but because Defendant Birchfield had made promises to attorneys

outside the Joint Venture. In a letter dated August 26, 2024, Defendant Meadows wrote that

Beasley Allen promised to uphold our duties to all claimants and therefore will not leave any

                                                                        Based on information and

belief, Defendants opposed the Revised Plan because Defendants promises to law firms outside

the Joint Venture would cut into the fees that Defendants would receive.

          34.   On August 23, 2024, Plaintiff emailed Birchfield with the current version of the

Revised Plan stating it was                             new settlement offer to the Joint Venture

clients                                              for Defendants to join Plaintiff in this

communication. Defendants did not respond.

          35.   Instead, on August 26, 2024, Meadows contacted the Joint Venture clients in

opposition to the Revised Plan.




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           36.      On August 27, 2024, Plaintiff again reached out to Defendants hoping to resolve

their differences and pursue the best resolution for the Joint Venture clients. Defendants did not

respond.

           37.      On August 28, 2024, Plaintiff requested a phone call with Birchfield to discuss the

Revised Plan and propose edits                                                         did not respond.

           38.      Instead, Defendants wrote Plaintiff on September 5, 2024, threatening litigation if

Plaintiff continued to support the Revised Plan.

           39.      On September 9, 2024, Beasley Allen sent an email to all MDL Counsel requesting

a conference                                            concerning Plaintiff s support for the Revised Plan.

           40.      On September 10, 2024, Plaintiff responded pointing out the patently false

information about Plaintiff and the Revised Plan in Beasley Allen s September 9 letter. Plaintiff

demanded an immediate retraction of Beasley Allen s disparaging and untrue statements about

Plaintiff and the Revised Plan.

           41.      On September 11, 2024, Plaintiff sent a letter to the Joint Venture clients explaining

Plaintiff s reasons for supporting the Revised Plan.

           42.      On or about September 12, 2024, Meadows sent the Joint Venture clients a letter

opposing the Revised Plan. In his letter, Meadows questioned Plaintiff s financial condition and

urged the Joint Venture clients to reject the Revised Plan. Meadows told the clients,
                                                 6



           43.      Rather than issuing a retraction of their disparaging remarks, Defendants filed suit

against Plaintiff in the United States District Court for the Middle District of Alabama. The suit

alleges inter alia that Plaintiff is supports the Revised Plan because Plaintiff is in financial



6
    Allen Smith is lead counsel at Plaintiff The Smith Law Firm, PLLC.


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distress. This allegation, which is consistent with Defendants statements published to MDL

counsel and the Joint Venture clients, is patently false and defamatory.

       44.     Plaintiff supports the Revised Plan its terms, after negotiations and numerous

amendments, are favorable to the Joint Venture clients. For example:

       45.     Additional Funds for Current Claimants: J&J has agreed that an additional $500

million dollars be directed to the payment of current Claimants. Claimants are now entitled to

$4.975 billion vs. $4.475 billion under the previous plan.

       46.     Significant Additional Funds for Individual Review Bonuses: Johnson & Johnson

has agreed to fund an additional aggregate amount of $1.1 billion into the trust for supplemental

payment of talc claims. These additional funds will be used to award Individual Review Bonuses

to claimants that meet certain additional criteria. After accounting for this additional $1.1 billion

in funding, the total cash contributions to be made to the Talc Personal Injury Trust under the Plan

would be approximately $9.1 billion.

       47.                                                                                          :

Johnson & Johnson also has agreed to contribute additional money to be used for the payment of

common benefit fees to qualifying counsel, outside of the Trust. Although the initial version of the

Plan left open what would happen regarding common benefit payments, therefore creating the

possibility that each claimants

fees and expenses, J                       s agreement to pay these funds directly resolves that

concern. In other words, claimants will save/retain approximately 10% of their trust award, which

might otherwise have been taxed under the MDL common benefit orders.

       48.     Assistance in Resolving Medical Liens: Johnson & Johnson

counsel will assist with negotiating a comprehensive medical lien resolution plan with Medicare




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and private insurers, which could help to reduce any repayment of insurance benefits that might

be required by claimants.

       49.     Payment of Costs and Expenses from Prior Bankruptcy Proceedings: Johnson &

Johnson has agreed to reimburse attorneys for the costs of fighting its prior bankruptcy attempts.

The benefit is that these fees and costs will not be withdrawn from the Talc Personal Injury Trust.

Again, this means claimants do not bear the responsibility for paying these costs.

       50.                                                           : Johnson & Johnson has agreed

that, in the event the Plan is vacated or defeated, and provided certain conditions are met, the Plan

resolution may be converted to a private, non-bankruptcy mass tort resolution program with the

monetary compensation being $4.975 billion dollars for current claimants (100% of Revised Plan).

In the event the Plan converts to a private resolution program, Johnson & Johnson also will

contribute                                Individual Review Bonuses, and contribute 80% of the

Common Benefit Fee payments of the Revised Plan.

       51.     Faster processing of claims and payment from the Trust: Johnson & Johnson also



prior to its confirmation, on its own dime to facilitate faster recovery for current Claimants.

Additionally, and provided certain conditions are met, Johnson & Johnson has agreed to allow

Claimants to begin receiving awards immediately after the Fifth Circuit approves the Plan, rather

than requiring Claimants to wait until after Supreme Court approval. This could yield claimants

relief months, if not years, faster than they otherwise might recover under a more typical

bankruptcy plan confirmation and implementation timeline.

       52.     Given the substantial improvements negotiated by Plaintiff, the Revised Plan

clearly and obviously is in the best interests of the Joint Venture clients.




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       53.     Despite the favorable Revised Plan, Defendants continued their defamatory

conduct toward Plaintiff.

       54.     On September 16, 2024, Birchfield commented to reporter Amanda Bronstad in a

Law.com news article                 $400 billion company is preying on certain lawyers who are in

financial distress and demanding th

       55.     Based on information and belief, Defendants continue to communicate with Joint

Venture clients in an effort to thwart approval of the Revised Plan. Defendants reportedly are

continue making false and defamatory allegations of financial distress toward Plaintiff, are

misrepresenting to these Joint Venture clients that Plaintiff no longer represents them, and are

instructing the clients to cease all communications with Plaintiff.

       56.     Plaintiff has fought vigorously against Johnson & Johnson for fifteen years both



                                                                                               claim,

but rather due to Defendants inability and, at times, refusal to communicate with Johnson &

Johnson representatives. What Defendants were unable to achieve in years in the Talcum Powder

Litigation, Plaintiff was able to negotiate in weeks, all the while attempting, repeatedly, to involve

Defendants                                                    in such discussions.

       57.     In addition to refusing to communicate, Defendants also have abandoned their

obligations under the JV Agreement to share in expenses. Currently, Defendants owe:

               a. $1,971,566.09 in client acquisition fees in the Talcum Powder Litigation as of

                   July 31, 2024;

               b. $1,161,370.56 in certain expenses associated with the Talcum Powder

                   Litigation; and




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                c. $163,047.88 in other expenses associated with the Talcum Powder Litigation.

        58.     Plaintiff has written Defendants requesting reconciliation of the outstanding

balances owed, but Defendants, specifically Birchfield, has never responded. Plaintiff s lead

counsel offered to drive to Montgomery, Alabama, to meet and in an effort to resolve the ongoing

differences but Birchfield refused.

        59.     Instead, Defendants have continued to refuse to communicate and consult with

Plaintiff concerning their shared Joint Venture clients and have attempted to shut Plaintiff out of

the representation. For example,

                a. Defendants have refused to discuss with Plaintiff MDL settlement negotiations

                    involving the Joint Venture s clients;

                b. Defendants have refused to consult with Plaintiff before communicating with

                    the Joint Venture s clients;

                c. Defendants have refused to provide Plaintiff with the contact information for



                d. Defendants have encouraged                                    to oppose the Revised

                    Plan without informing them of Plaintiff s view.

        60.     As a direct and proximate result of Defendants conduct, Plaintiff has been

damages.

        61.     Defendants have defamed                                and reputation publicly, have

attempted to cut off Plaintiff s ability to communicate with its Joint Venture clients, and have

threatened, and then sued, Plaintiff to deter its support for the Revised Plan, which Plaintiff

strongly believes is in the best interests of the Joint Venture clients. Defendants acts are in violation

of the JV Agreement, the Rules of Professional Conduct, and appliable law.




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                              COUNT I: BREACH OF CONTRACT

        62.      Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

        63.      The JV Agreement is a binding and valid contract between Plaintiff and Defendant

Beasley Allen.

        64.      Plaintiff has performed above and beyond its obligations under the JV Agreement,

and, as a result, has secured quality cases for the Joint Venture, performed over 90% of all

courtroom trial work in the Talcum Powder Litigation, which yielded over $750 million in positive

verdicts for plaintiffs, and established the viability and magnitude of the Talcum Powder Litigation

as a whole.

        65.      Defendants have sought to actively work against the Joint Venture and its shared

clients by refusing to consider or recommend the Revised Plan for reasons unrelated to the best

interests of the clients.

        66.      Defendants have breached their duties under the JV Agreement including by:

                 a. Failing to reconcile and fulfill their obligation to pay 50% of the expenses that

                    the Joint Venture accrued in the Talcum Powder Litigation;

                 b. Failing to perform 50% of the total work in the Talcum Powder Litigation;

                 c. Failing to meaningfully communicate and consult with Plaintiff in order to

                    adequately and jointly represent the shared clients;

                 d. Failing to work together with Plaintiff in the prosecution of the Talcum Powder

                    Litigation;

                 e. Actively preventing Plaintiff from communicating with the Joint Venture

                    clients in the Talcum Powder Litigation;




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               f.

                    direct opposition to, Plaintiff; and

               g. Permitting                                   in avoiding resolution of the Talcum

                    Powder Litigation through bankruptcy to cloud the independent judgment owed



       67.     As a direct and

been damaged in an amount equal to or exceeding $973,243.41, not including costs or interest.

Plaintiff reserves the right to amend this Complaint to include additional damages.

        COUNT II: BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

       68.     Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

       69.     Under Mississippi law, all agreements contain an implied covenant of good faith

and fair dealing.

       70.     By their conduct described herein, and as will be proven at trial, Defendants have

breached their duty by operating in a manner inconsistent with the agreed purpose between the

parties. Defendants have acted in a manner that is inconsistent with the justified expectations of

Plaintiff, which expected and relied upon Defendants to act in good faith and fair dealing in

entering into and performing the contract at issue herein.

       71.     As a direct and proximate result of Defendants conduct, as described herein,

Plaintiff has suffered actual damages and losses and is entitled to the relief requested.

       72.     Plaintiff is entitled to punitive damages because Defendants have acted

intentionally, or with reckless disregard for Plaintiff s rights, as described herein.




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                        COUNT III: BREACH OF FIDUCIARY DUTY

          73.   Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

          74.   The trust relationship between Plaintiff and Defendants, acting as co-counsel in the

pursuit of legal claims on behalf of shared clients, was a fiduciary relationship that requires the

utmost fairness and good faith on the part of the parties.

          75.   By the conduct described herein, Defendants have breached the fiduciary duties

owed to Plaintiff.

          76.

has suffered damages and losses and is entitled to the relief requested herein.

          77.

punitive damages.

   COUNT IV: DEFAMATION, DEFAMATION PER SE, LIBEL, AND LIBEL PER SE

          78.   Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

          79.   Plaintiff   rights have been violated pursuant to the common law of the State of

Mississippi and Miss. Code Ann. § 95-1-1 as a direct and proximate result of the written false

statements made by Defendants, including those described herein and those that will be proven at

trial.

          80.   These false and defamatory written statements concerning the Plaintiff include,

without limitation, the September 9, 2024, MDL Co-Counsel email; the September 12, 2024,

Meadows letter to clients; the September 16, 2024, Birchfield quote to Law.com; and the

continued communications to Joint Venture clients such as those detailed above. As a result of




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these and other statements which will be revealed in discovery or at trial, Defendants are liable for

defamation, defamation per se, libel, and/or libel per se as set forth herein.

       81.     Defendants have made unprivileged publication of these written false statements.

       82.     In making these false statements about Plaintiff, Defendants bear fault at least to

the level of negligence.

       83.     The false statements made by Defendants about Plaintiff are suggestive of conduct

incompatible with the proper conduct of Plaintiff s business or trade. As such, Defendants are

liable for defamation per se and/or libel per se.

       84.     Alternatively, the false statements made by Defendants about Plaintiff have caused

Plaintiff to suffer special harm, including financial and/or reputational harm. As such, Defendants

are liable for defamation and/or libel.

       85.

              COUNT V: TORTIOUS INTERFERENCE WITH CONTRACT

       86.     Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

       87.     Plaintiff has contractual relationships with all clients in Talcum Powder Litigation

that originated from Plaintiff and all Joint Venture Clients.

       88.                                                                                 false and

defamatory statements outlined herein, and communications to clients asserting that Plaintiff is no

longer representing them, and urging that clients should not communicate with Plaintiff,

Defendants are intentionally and willfully interfering with the business relationships and contracts

that Plaintiff holds with Talcum Powder Litigation clients.




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       89.

calculated to cause damage to Plaintiff in its lawful business.

       90.

unlawful purpose of causing damage to Plaintiff without right or justifiable cause and/or by

unlawful means.

       91.

has incurred actual damage and loss, for which Defendants are liable.

       92.

                                           DAMAGES

       93.     Plaintiff incorporates by reference, as if fully reproduced herein, the allegations

contained in the foregoing paragraphs of the Complaint.

       94.     There is a causal connection between the acts and/or omissions of Defendants, as

described in this Complaint, and the damages sustained by Plaintiff, such that the acts and/or

omissions proximately caused or contributed to

       95.     As a result of the foregoing acts and/or omissions of Defendant, the Plaintiffs are

entitled to the following damages:

               a.      compensatory damages as allowed by law for each of the causes of action

set forth above;

               b.      contractual damages for breaches of contract;

               c.      all other economic and non-economic damages allowed by Mississippi law;

               d.      any and all damages of every kind allowable by law as a jury may determine

                       to be just, taking into consideration all damages of every kind to Plaintiff;

                       and




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               e.        punitive damages.

                                           PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment from the

Defendants and requests that the Court grant the following relief:

       a.           Economic and non-economic damages in an amount provided by law and to be

                    supported by evidence at trial;

       b.           Punitive damages;

       c.           Pre-judgment and post-judgment interest as allowed by law;

       d.           Reasonable attorneys fees, litigation expenses, expert witness fees, and costs

                    of this litigation, together with all costs of court; and,

       e.           All other relief to which Plaintiffs may justly and properly be entitled, all

                    within an amount within the jurisdiction of this Court.

       Dated: September 19, 2024

                                                          Respectfully submitted,

                                                          The Smith Law Firm, PLLC

                                                          By its attorneys,

                                                          CARROLL BUFKIN, PLLC



                                                          /s/ Thomas G. Bufkin
                                                          By: Thomas G. Bufkin, MSB #10810




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Thomas G. Bufkin, MSB # 10810
CARROLL BUFKIN, PLLC
1076 Highland Colony Pkwy., Ste. 125
Ridgeland, Mississippi 39157
(601) 982-5011
(601) 852-9450
tgb@carrollbufkin.com




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